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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN




  Cholyanda Brown, et al.,

                                     Plaintiff(s),
  v.                                                     Case No. 5:16−cv−10444−JEL−MKM
                                                         Hon. Judith E. Levy
  Veolia Water North America
  Operating Services, LLC, et al.,

                                     Defendant(s),



                         NOTICE TO APPEAR BY VIDEO CONFERENCE

     PLEASE TAKE NOTICE that a video conference has been scheduled before Judge District
  Judge Judith E. Levy as follows:

         • MISCELLANEOUS HEARING: April 7, 2021 at 02:30 PM

       The Court will host the conference. The conference information is listed below.

       ZOOM WEBINAR:


    Attorneys must review and comply with the attached Zoom Video Conference Policies and
  Guidelines.

      The public may request access to in−court proceedings by visiting the Court's website:
  http://www.mied.uscourts.gov

     ADDITIONAL INFORMATION: Prior to the proceeding date, counsel with
  anticipatedspeaking roles will receive a direct email from the Court with the Zoom link to join
  theconference as panelists. Connection information and instructions may not be
  forwarded,distributed or shared with counsel with nonspeaking roles without the Courts
  advanceapproval. Counsel with nonspeaking roles, and the public, may attend this proceeding
  viaYouTube by visiting the Courts website: http://www.mied.uscourts.gov



                                        Certificate of Service

     I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
  record were served.

                                                 By: s/W. Barkholz
                                                     Case Manager

  Dated: March 31, 2021
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                   ZOOM VIDEO CONFERENCE POLICIES AND GUIDELINES

  General Court Policies:
       • All in−court proceedings will be considered the same as if held in the courtroom and an official record
         will be made. Appropriate attire is required.
       • The judge has authority over the proceeding and participants as if they were physically present in
         chambers or the courtroom.
       • The judge may terminate the proceeding if the video conference experience is not acceptable.
       • Appropriate conduct is required. Be courteous and patient.
       • For in−chambers conferences, an official record will not be made, unless the judge determines one is
         necessary. Connection information may not be forwarded, distributed or shared with non−parties without
         the Court’s advance approval.
       • Broadcasting, recording or photographing, including "screenshots" or other visual copying of a
         proceeding, is strictly prohibited.

  Technical Responsibilities:
       • The court will not provide technical assistance for testing or troubleshooting equipment or connections,
         nor provide time during the proceeding to troubleshoot issues.
       • Participants should take time prior to the proceeding to become familiar with Zoom. Directions, tutorials
         and support can be found at https://zoom.us. Devices and connections can be tested at
         https://zoom.us/test.
       • Participants should use a good LAN, WiFi, or substantial LTE connection to ensure a quality connection.

  Connecting to the Proceeding:
       • If a connection link has been provided, click the link to join (or copy and paste the link into a web
         browser). If prompted, download or launch Zoom and join with video and audio.
       • Alternatively, visit https://zoom.us/join from a computer and enter the Meeting or Webinar ID. If
         prompted, download or launch Zoom and join with video and audio.
       • For Apple/Android tablets and phones, install the Zoom App from the Apple or Android Store prior to the
         proceeding. Launch the Zoom App and join using the Meeting or Webinar ID.

  Best Practices:
       • Use your full name in the display of the video window.
       • Mute sound when not speaking to eliminate background noise.
       • Unmute only when necessary to speak. Press the space bar to temporarily unmute.
       • Avoid rustling papers and other extraneous noises.
       • Speak one at a time.
       • Spell proper names.
       • Position the camera at eye level or slightly above eye level.
       • Remember to look directly at the camera, not at the screen.
       • Be mindful of what is behind you. Choose a solid neutral wall, if possible.
       • Have proper lighting, ideally where light is directly on your face.
